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Attorneys for Plaintiff

                          IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF IDAHO

WESTERN WATERSHEDS PROJECT                     )
                                               )       No. 04:08-cv-435-BLW
       Plaintiff,                              )       No. 1:12-cv-205-BLW
v.                                             )       Consolidated
                                               )
BUREAU OF LAND MANAGEMENT,                     )       PLAINTIFF’S MOTION FOR
et al.                                         )       ATTORNEYS’ FEES AND LITGATION
                                               )       EXPENSES
       Defendants.                             )

       Plaintiff Western Watersheds Project (WWP) respectfully moves this Court for an award

of reasonable attorneys’ fees and litigation expenses that it has incurred to date in its successful

prosecution of this matter against Federal Defendants Bureau of Land Management et al. The

Court is authorized to award WWP its reasonable attorneys’ fees and litigation expenses against

Federal Defendant pursuant to the Equal Access to Justice Act (EAJA), which provides:

       Except as otherwise specifically provided by statute, a court shall award to the
       prevailing party other than the United States fees and other expenses . . . incurred
       by that party in any civil action (other than cases sounding in tort), including
       proceedings for judicial review of agency action, brought by or against the United
       States in any court having jurisdiction of that action, unless the court finds that the
       position of the United States was substantially justified or that special
       circumstances make an award unjust.

28 U.S.C. § 2412(d)(1)(A).

       Western Watersheds is entitled to recovery of reasonable attorneys’ fees and litigation
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expenses incurred in this matter under EAJA, because: (1) WWP is an eligible party as defined

under EAJA; (2) WWP is the prevailing party in this litigation; (3) there are no special

circumstances that would make an award unjust; and (4) Federal Defendant’s position was not

substantially justified.

        Pursuant to EAJA, WWP requests an award of attorneys’ fees and litigation expenses

incurred to date in its successful prosecution of this litigation, based on the “lodestar” approach

for fees (i.e., the reasonable time expended by its counsel at the reasonable market rates set forth

below) and based on the litigation expenses incurred, as follows:

        T. Tucci               1,995.3 hours (various rates) =          $574,600.50
        L. Lucas                 164.0 hours (various rates) =          $ 61,552.50
        K. Ruether               295.7 hours (various rates) =          $ 62,232.00
        N. Havlina                12.9 hours (various rates) =          $ 2,040.00
        Total Attorney’s Fees:                                          $700,424.50
        Total Litigation Expenses:                                      $ 1,836.42
        TOTAL FEES AND EXPENSES:                                        $702,261.42

        WWP will provide further briefing, declarations, timesheets, and other documents in

support of this motion, consistent with the agreement of the parties. Specifically, WWP and

Federal Defendants have separately agreed to stay this motion for 90 days until August 26, 2019

in order to try to reach settlement and avoid litigating this matter.

        WHEREFORE, WWP respectfully prays that the Court grant this motion; and award it

attorneys’ fees and litigation expenses in the amount of $702,261.42 for the fees and expenses it

has reasonably incurred to date in this action, plus such further amounts as it may incur hereafter

in litigating this motion.

Dated: May 22, 2019                                    Respectfully submitted,

                                                       /s/ Todd C. Tucci
                                                       Todd C. Tucci (ISB # 6526)
                                                       Attorney for Plaintiff




WWP’S MOTION FOR FEES AND EXPENSES –                                                                  2
